Case 3:08-cr-04551-JM          Document 28   Filed 05/04/09      PageID.109        Page 1 of 1



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 7                                 UNITED STATES DISTRICT COURT
 8                               SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                 )       Criminal Case No. 08CR4551-JM
10                                             )
                  Plaintiff,                   )
11                                             )
           v.                                  )
12                                             )       ORDER GRANTING THE GOVERNMENT’S
     CORRINA MARIE COCOVA (2),                 )       MOTION TO DISMISS
13                                             )
                                               )
14                Defendant.                   )
                                               )
15
16                                                 ORDER
17         Upon motion of the Government, IT IS HEREBY ORDERED that the Indictment in criminal
18   case number 08CR4551-JM be dismissed, without prejudice, as to defendant Corrina Marie Cocova.
19   IT IS FURTHER ORDERED that the bond for defendant Corrina Marie Cocova be exonerated in
20   criminal case number 08CR4551-JM.
21   DATED: May 4, 2009
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                                                    Hon. Jeffrey T. Miller
23                                                  United States District Judge
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